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                                                                            Trial Date: March 21, 2022
 2                                                KING COUNTY
                                             SUPERIOR COURT CLERK
 3                                                   E-FILED
                                             CASE #: 20-2-14616-1 KNT
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 5
                      SUPERIOR COURT OF WASHINGTON FOR KING COUNTY
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 7   GEORGE M. KRAEMER and PATRICIA A.                         NO. 20-2-14616-1 KNT
     KRAEMER, husband and wife,
 8                                                             THIRD AMENDED COMPLAINT
                         Plaintiffs,                           FOR PERSONAL INJURIES
 9
             v.
10
     LONE STAR INDUSTRIES, INC.,
11    individually and as successor-in-interest to
      PIONEER SAND & GRAVEL COMPANY;
12   METROPOLITAN LIFE INSURANCE
      COMPANY; and
13   VWR INTERNATIONAL, LLC;

14                       Defendants.

15
                                                I.     PARTIES
16
             Plaintiffs George M. Kraemer and Patricia A. Kraemer, husband and wife, reside in East
17
     Wenatchee, Washington. Defendants and their predecessors-in-interest are corporations who, at
18
     all relevant times, manufactured, sold, distributed, installed, specified or purchased asbestos-
19
     containing products or products that were used in conjunction with asbestos, or used asbestos
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     products on its premises or projects.
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                                          II.        JURISDICTION
22
             This Court has jurisdiction over this cause under RCW 4.12.025 because, at all relevant
23
     times, defendants transacted business and/or may be served with process in King County,


     THIRD AMENDED COMPLAINT FOR PERSONAL INJURIES -                   BERGMAN DRAPER OSLUND UDO
     1                                                                       821 2ND AVENUE, SUITE 2100
                                                                                 SEATTLE, WA 98104
                                                                              TELEPHONE: 206.957.9510
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 1   Washington. This Court has specific jurisdiction over all out-of-state defendants because they

 2   each purposefully performed acts or consummated transactions in Washington State, Plaintiffs’

 3   cause of action arises out of and/or relates to defendants’ activities and/or transactions in

 4   Washington State, and assumption of jurisdiction over such out-of-state defendants by this Court

 5   does not offend traditional notions of fair play and substantial justice.

 6                                             III.    FACTS

 7          Plaintiff George Kraemer, (DOB: 1942) was exposed to asbestos and asbestos-containing

 8   products which had been mined, manufactured, produced, installed and/or placed into the stream

 9   of commerce by the defendants and/or was exposed to asbestos through the use of products

10   manufactured by defendants or to products used on defendants premises or projects. As a direct

11   and proximate result of this exposure, plaintiff George Kraemer developed mesothelioma.

12   Plaintiffs provide the following information:

13
              A.     Specific Disease:       Mesothelioma
14
              B.     Date of Diagnosis:      July 2020
15
              C.     Occupation:             School Teacher
16
              D.     Places of Exposure:     1966 to 1991
17                                           Morgan Junior High School, Shoreline, WA
                                             Einstein Middle School, Shoreline, WA
18                                           Redmond Junior High School, Redmond, WA

19                                           1942 to 1945
                                             Take home exposure from father who worked in the
20                                           shipyards in Seattle, WA.

21            E.     Dates of Exposure:      1940s to December 4, 1980. This complaint does
                                             not allege exposure to asbestos on or after
22                                           December 5, 1980.

23            F.     Current Address:        2278 Sunrise Place
                                             East Wenatchee, WA 98802


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 1                                           IV.       LIABILITY

 2           Plaintiffs’ claim liability based upon the theories of product liability, negligence,

 3   premises liability, conspiracy, unsafe workplace, strict liability for abnormally dangerous

 4   activities, and any other applicable theory of liability. The liability-creating conduct of

 5   defendants consisted, inter alia, of negligent and unsafe design; failure to inspect, test, warn,

 6   instruct, monitor and/or recall; failure to substitute safe products; post-sale failure to warn,

 7   marketing or installing unreasonably dangerous or extra-hazardous and/or defective products;

 8   marketing, maintaining or installing products not reasonably safe as designed; marketing

 9   maintaining or installing products not reasonably safe for lack of adequate warning and

10   marketing maintaining or installing products with misrepresentations of product safety; failure to

11   warn or exercise ordinary care when retaining control of the means and manner of work on

12   jobsites; failure to maintain a safe workplace.

13                                            V.       DAMAGES

14           As a proximate result of defendants’ tortious conduct, plaintiff George M. Kraemer

15   sustained pain, suffering, and disability in an amount not now known, but which will be proven

16   at trial. Plaintiff George M. Kraemer also sustained medical expenses and economic losses in an

17   amount to be proven at trial. Plaintiff Patricia A. Kraemer has sustained loss of consortium as a

18   result of George M. Kraemer’s illness.

19           WHEREFORE, plaintiffs pray for judgment against the defendants and each of them as

20   follows:

21           1.       For general and special damages specified above, including pain, suffering loss of

22   spousal relationship and disability;

23           2.       For medical and related expenses, and economic loss, all of which will be proven

     at the time of trial;

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 1         3.       For punitive damages based on the application of other states’ law;

 2         4.       For plaintiffs' costs and disbursements herein;

 3         5.       For prejudgment interest in the amount to be proven at trial; and

 4         6.       For such other relief as the Court deems just.

 5         DATED this 22nd day of April 2021.

 6                                         BERGMAN DRAPER OSLUND UDO, PLLC

 7                                         By     /s/ Ruby K. Aliment
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 8                                              Madeline F. Bergman, WSBA #56964
                                                821 2nd Avenue, Suite 2100
 9                                              Seattle, WA 98104
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11                                                      service@bergmanlegal.com
                                                Attorneys for Plaintiffs
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